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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

 SOCIAL POSITIONING INPUT
 SYSTEMS, LLC,                                    C.A. 4:22-CV-01311

                         Plaintiff,               JURY TRIAL DEMANDED
    v.
                                                  PATENT CASE
 AMCREST TECHNOLOGIES, LLC

                         Defendant.


               AMCREST TECHNOLOGIES, LLC’S MOTION TO DISMISS
                       FOR FAILURE TO STATE A CLAIM

         Pursuant to Fed. R. Civ. P. 12(b)(6), Defendant Amcrest Technologies, LLC (“Amcrest”)

hereby moves to dismiss the Complaint. Plaintiff Social Positioning Input Systems, LLC (“Social

Positioning”) has failed to state a claim upon which relief can be granted because each of their asserted

patents is directed to unpatentable subject matter under 35 U.S.C. § 101. The reasons for Defendant’s

requested relief are set forth in their Memorandum in Support of their Motion to Dismiss which is filed

contemporaneously herewith.


Dated: October 5, 2022                          By: Neil J. McNabnay
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                                                     ATTORNEYS FOR DEFENDANT
                                                     AMCREST TECHNOLOGIES, LLC
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                                  CERTIFICATE OF SERVICE
       The undersigned certifies that all counsel of record who are deemed to have consented to

electronic service are being served pursuant to Fed. R. Civ. P. 5(b) with a copy of this document

via the Court’s CM/ECF system.


                                                    /s/ Neil J. McNabnay
                                                    Neil J. McNabnay
